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                             EXHIBIT 8
                                              Unduplicated Admissions for Opiate Abuse and Dependence
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                                                                           Ohio MACSIS Data - State Fiscal Year (SFY) 2014



    Legend
            ADAMHS Board                                                                Lucas
                                                                                                                                                                                               Lake
                                                                                                                                                                                              31.4%
                                                                                                                                                                                                             Ashtabula
                                                                                                                                                                                                               35.4%


    Opiate Addicts (%)
                                                                       Fulton           47.9%
                                                     Williams          34.0%
                                                      23.4%                                                   Ottawa
                                                                                                              25.9%                                                                           Geauga
                                                                                                                                                                                               17.4%

        13.1% - 71.6%
                                                                                                                                                                            Cuyahoga
                                                        Defiance                             Wood              Sandusky             Erie                                     33.0%
                                                                           Henry             56.5%                                                                                                           Trumbull
                                                         19.5%             15.8%                                 26.8%             32.2%                     Lorain
                                                                                                                                                                                                              57.9%

        < 25 cases
                                                                                                                                                             29.7%
                                                                                                                                                                                              Portage
                                                                                                                Seneca                 Huron                            Medina    Summit       30.2%
                                                     Paulding                                                                          41.5%
                                                                                                                 31.9%                                                  29.2%      32.0%
                                                                       Putnam                                                                                                                                Mahoning
Map Information:                                                        50.0%            Hancock
                                                                                                                                                                                                              30.1%
                                                                                          28.6%

                                                     Van Wert                                          Wyandot           Crawford                     Ashland           Wayne          Stark
This map represents the percentage of                                   Allen
                                                                        33.9%
                                                                                                        32.4%             55.9%
                                                                                                                                       Richland        32.4%            36.4%          19.6%                  Columbiana
                                                                                                                                                                                                                37.4%
clients in treatment with an opiate-related
                                                                                                                                        39.9%
                                                                                         Hardin

diagnosis (heroin and prescription opioid).
                                                                                         57.1%
                                                                   Auglaize                                    Marion                                                                             Carroll
                                                                                                               71.6%
On average, 37.0 percent of client
                                                    Mercer          22.7%                                                     Morrow                                  Holmes                      16.3%
                                                                                                                                                                                                             Jefferson
                                                                                                                              35.9%
                                                                                                                                                                                                               44.8%
admissions statewide were associated
                                                                                                                                                                                  Tuscarawas
                                                                                     Logan                                                      Knox                                13.1%

with a primary diagnosis of opiate abuse
                                                                     Shelby          44.0%                                                      44.7%
                                                                     41.2%                            Union                                                           Coshocton                   Harrison
                                                                                                      39.6%             Delaware
or dependence in SFY 2014. The highest
                                                                                                                                                                        14.7%                      24.3%
                                                                                                                         48.6%

concentrations of opiate admissions were
                                                    Darke                          Champaign
                                                    56.3%                            43.2%                                                  Licking
in Marion (71.6%), Scioto (68.8%) and
                                                                   Miami                                                                                                           Guernsey
                                                                                                                                             38.5%                                                      Belmont
                                                                   34.3%                                                                                                            32.7%
Vinton (68.5%) counties. The counties
                                                                                                                   Franklin                                      Muskingum                               35.0%
                                                                                   Clark                            38.3%                                          25.3%
                                                                                                     Madison
with the lowest concentrations of opiate-
                                                                                   35.2%
                                                                                                      60.5%

related admissions were Tuscarawas                 Preble
                                                   25.3%
                                                              Montgomery
                                                                45.5%
                                                                                                                                    Fairfield
                                                                                                                                     56.5%
                                                                                                                                                        Perry
                                                                                                                                                                                    Noble
                                                                                                                                                                                                   Monroe

(13.1%), Coshocton (14.7%) and Henry
                                                                                Greene                                                                  45.7%                                      60.0%
                                                                                38.3%                             Pickaway

(15.8%). Percentages are not displayed                                                             Fayette
                                                                                                                    59.0%                                               Morgan

for counties with fewer than 25 admissions.          Butler         Warren         Clinton
                                                                                                    41.7%                                  Hocking
                                                                                                                                            44.9%
                                                                                                                                                                                   Washington
                                                                                                                                                                                     22.8%
                                                     59.8%          38.0%          31.2%
                                                                                                                   Ross
Note: Alcohol, Drug Addiction and Mental
                                                                                                                                                                Athens
                                                                                                                   51.3%                   Vinton               51.3%

Health Services (ADAMHS) Boards have
                                                    Hamilton                               Highland                                        68.5%
                                                     39.8%                                  39.5%
black borders, and counties have white                             Clermont                                         Pike
                                                                                                                                                                Meigs
                                                                                                                                                                60.7%
borders. Borders are black in cases where                           44.8%                                          67.4%            Jackson
                                                                                                                                     63.1%
ADAMHS boards and counties have the                                             Brown
                                                                                                Adams
same borders.
                                                                                61.9%                               Scioto
                                                                                                43.9%               68.8%                           Gallia
                                                                                                                                                    63.9%


                                                                                                                                        Lawrence
Data Source:                                                                                                                              17.9%
Data from Multi Agency Community
Information Systems (MACSIS)
Map produced November 2015
